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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        :
                                                :
               v.                               :   Case No. 21-cr-123-PLF
                                                :
VITALI GOSSJANKOWSKI                            :
                                                :
                       Defendant.               :

           UNITED STATES’ UNOPPOSED MOTION TO DISMISS COUNT 2

       The United States of America hereby moves pursuant to Federal Rule of Criminal

Procedure 48(a) to voluntarily dismiss with prejudice Count 2 of the Superseding Indictment,

which charges the defendant, Vitali GossJankowksi, with obstruction of an official proceeding, in

violation of 18 U.S.C. §§ 1512(c)(2) and 2. 1

                      FACTUAL AND PROCEDURAL BACKGROUND

       On January 6, 2021, the defendant, Vitali GossJankowski, joined the mob that attacked the

Capitol, facing off with the officers who were guarding the Lower West Terrace tunnel, assaulting

a Capitol Police officer with a stun gun on the inaugural stage, and obstructing Congress’

certification of the Electoral College vote.

       In February 2021, the grand jury charged the defendant with several criminal offenses in

connection with his conduct on January 6, 2021, including obstruction of an official proceeding,

in violation of 18 U.S.C. §§ 1512(c)(2) and 2 (Count 2). ECF No. 10. The defendant moved to

dismiss Count 2, and this Court denied the motion. ECF Nos. 68, 103.




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 Counsel for the government has conferred with the defendant’s counsel via email regarding this
motion. Defense counsel indicated that the defendant does not oppose this motion.
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       In March 2023, the case proceeded to trial. At trial, the Court instructed the jury that, to

convict the defendant of obstruction of an official proceeding, in violation of 18 U.S.C.

§§ 1512(c)(2) and 2, the jury was required to find that “the defendant attempted to or did obstruct

or impede an official proceeding.” 3/14/2023 Tr. 45; see generally id. at 45-48. The jury

instructions for Count 2 did not specifically require the jury to find that the defendant impaired, or

attempted to impair, the availability or integrity for use in an official proceeding of records,

documents, objects, or other things used in the proceeding. The jury found the defendant guilty of

six criminal offenses (3 felonies and 3 misdemeanors), including Count 2. ECF No. 163.

       In September 2023, after the Court appointed new defense counsel, the defendant moved

to set aside several of his counts of conviction. As relevant here, in the motion, the defendant

requested a judgment of acquittal or, in the alternative, a new trial as to Count 2, arguing that the

evidence was insufficient in certain respects and that the jury instructions misstated the mens rea

of § 1512(c)(2). ECF No. 191 at 8-14. That motion remains pending.

       On June 28, 2024, the Supreme Court issued an opinion in Fischer v. United States, 144 S.

Ct. 2176 (2024). Fischer held that Section 1512(c)(2) does not cover “all means of obstructing,

influencing, or impeding any official proceeding.” Id. at 2185. The Court held that, to prove a

violation of Section 1512(c)(2), the government must establish that the defendant impaired the

availability or integrity for use in an official proceeding of records, documents, objects, or other

things used in the proceeding – such as witness testimony or intangible information – or attempted

to do so. Id. at 2186, 2190. The Supreme Court remanded the case to the D.C. Circuit for further

proceedings and to assess the sufficiency of the indictment on that count. Id. at 2190.




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                                           DISCUSSION

       Federal Rule of Criminal Procedure 48(a) permits the Government, “with leave of court,”

to “dismiss an indictment, information or complaint.” Fed. R. Crim. P. 48(a). Although the rule

is written in terms of the entire charging document (i.e., “indictment,” “information,” and

“complaint”), it also applies to individual counts. See, e.g., Thomas v. United States, 398 F.2d

531, 537 (5th Cir. 1967) (“The right of the prosecution to move for and the court to grant dismissal

of an Indictment or separate counts thereof is a hornbook principle.”). It is also settled that the

government may move to dismiss a count under Rule 48(a) even after the charge at issue has

resulted in a finding of guilt, see, e.g., United States v. Hector, 577 F.3d 1099, 1101 (9th Cir. 2009)

– whether “because of a guilty plea,” id., or because of a guilty verdict at trial, see, e.g., United

States v. Williams, 720 F.3d 674, 702 (8th Cir. 2013). Cf. United States v. Smith, 467 F.3d 785,

786-789 (D.C. Cir. 2006) (holding that district courts have jurisdiction to entertain unopposed Rule

48 motions even after a conviction becomes final, without ruling on the merits of Rule 48’s scope).

       In this case, the jury found the defendant guilty of six offenses – 3 felonies and 3

misdemeanors – more than a year ago, in March 2023. In light of the Supreme Court’s recent

decision in Fischer, however, additional litigation would be needed to determine the impact of

Fischer on the defendant’s conviction on Count 2. In the interest of efficiently proceeding towards

sentencing on the defendant’s other counts of conviction, the government is moving to voluntarily

dismiss Count 2.

       Accordingly, the government respectfully requests that the Court dismiss Count 2 with

prejudice.

                                               Respectfully Submitted,

                                               MATTHEW M. GRAVES
                                               United States Attorney


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